 Case 3:17-cv-02366-BAS-KSC Document 629 Filed 11/19/20 PageID.55502 Page 1 of 1



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 8                          UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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       AL OTRO LADO, INC., et al.,                  Case No.: 17-cv-02366-BAS-KSC
11
                                     Plaintiffs,    ORDER GRANTING DEFENDANTS’
12                                                  APPLICATION TO REPLACE
           v.                                       EXHIBIT 64 TO SUMMARY
13                                                  JUDGMENT BRIEFING
       CHAD F. WOLF, et al.,
14                                                  (ECF No. 628)
                                  Defendants.
15

16         Before the Court is the Defendants’ Application seeking to withdraw Exhibit 64 to
17   Defendants’ Cross-Motion for Summary Judgment and Opposition (ECF No. 563-66) from
18   the docket. (ECF No. 628.)      Defendants state this exhibit does not contain sufficient
19   redactions to protect the identity of a CBP employee who was disciplined. (Id.) Plaintiffs
20   do not oppose Defendants’ request. (Id.) For good cause shown, the Court ORDERS that
21   Exhibit 64 (ECF No. 563-66) be removed from the docket and replaced with the redacted
22   version attached to Defendants’ Application. (ECF No. 628-1.)
23         IT IS SO ORDERED.
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25   DATED: November 19, 2020
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